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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                      CASE NO. 18-CV-81258-MIDDLEBROOKS/BRANNON

     JUDITH MARILYN DONOFF
     on behalf of herself and all others
     similarly situated,

             Plaintiffs,                                CLASS ACTION

     vs.

     DELTA AIR LINES, INC.

           Defendant.
     __________________________/

     NOTICE OF FILING UNREDACTED DECLARATION OF BEGENCH ATAYEV IN
             SUPPORT OF DELTA AIR LINES, INC.’S OPPOSITION TO
               PLAINTIFF’S MOTION FOR CLASS CERTIFICATION

           For the reasons articulated by Non-Party AGA Service Company a/k/a Allianz Global

   Assistance (“Allianz”) in the Joint Status Report Regarding Allianz’s Motion to Seal the Atayev

   Declaration [ECF 211], Defendant, Delta Air Lines, Inc., hereby files the unredacted Declaration

   of Begench Atayev in Support of Delta Air Lines, Inc.’s Opposition to Plaintiff’s Motion for Class

   Certification. The Declaration of Mr. Atayev is attached hereto as Ex A.

    Dated: January 7, 2020                        Respectfully submitted,

                                                  s/ Lazaro Fernandez, Jr.
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                                                -and-

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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was filed on and served

   by CM/ECF on January 7, 2020 on all counsel or parties of record.



                                                        s/ Lazaro Fernandez, Jr.
                                                        Lazaro Fernandez, Jr.
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                             Exhibit A
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